Case 2:20-cv-02779-CBM-GJS Document 12 Filed 05/20/20 Page 1 of 5 Page ID #:86



  1   XAVIER BECERRA
      Attorney General of California
  2   MARK T. CUMBA
      Supervising Deputy Attorney General
  3   DONNA M. DEAN
      Deputy Attorney General
  4   State Bar No. 187104
       300 South Spring Street, Suite 1702
  5    Los Angeles, CA 90013
       Telephone: (213) 269-6509
  6    Fax: (916) 731-2120
       E-mail: Donna.Dean@doj.ca.gov
  7   Attorneys for Defendants
      Warren A. Stanley, Charles Sampson,
  8   A. Braaksma, S. Pool, and E. Bailey
  9
                        IN THE UNITED STATES DISTRICT COURT
 10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11
 12
 13
 14   YAQUELIN SEVASTIANA                        2:20-cv-02779 CBM (PJWx)
      ORDONEZ,
 15                                            DEFENDANTS’ REQUEST FOR
                                    Plaintiff, JUDICIAL NOTICE
 16
                  v.                             Date:      June 23, 2020
 17                                              Time:      10:00 a.m.
                                                 Courtroom: 8B
 18   WARREN A. STANLEY, CHARLES
      SAMPSON, SGT. A. BRAAKSMA                  Judge:       Hon. Consuelo B.
 19   (#16551), SGT. S. POOL (#14242),                        Marshall
      OFFICER E. BAILEY (#22360) and
 20   Does 1 through 10, all sued in their       Trial Date: Not set
      individual capacities,                     Action Filed: March 25, 2020
 21
                                 Defendants. [Filed concurrently with Notice of
 22                                          Motion and Motion to Dismiss
                                             Plaintiff’s Complaint; Memorandum of
 23                                          Points and Authorities in Support
                                             Thereof]
 24
 25         Defendants hereby request judicial notice of the documents identified below
 26   pursuant to Rule 201 of the Federal Rules of Evidence and the authorities cited
 27   below. This request is made in connection with Defendants’ Motion to Dismiss
 28   Plaintiff’s Complaint.

                                             1
Case 2:20-cv-02779-CBM-GJS Document 12 Filed 05/20/20 Page 2 of 5 Page ID #:87



  1         The Ninth Circuit explained that “on a motion to dismiss a court may
  2   properly look beyond the complaint to matters of public record and doing so does
  3   not convert a Rule 12(b)(6) motion to one for summary judgment.” Mack v. South
  4   Bay Beer Distribs., 798 F.2d 1279, 1282 (9th Cir.1986), abrogated on other grounds
  5   by Astoria Fed. Sav. & Loan Ass'n v. Solimino, 501 U.S. 104, 111, 111 S. Ct. 2166,
  6   115 L. Ed. 2d 96 (1991).
  7         Courts may take judicial notice of documents outside the complaint that are
  8   capable of accurate and ready determination by resort to sources whose accuracy
  9   cannot reasonably be questioned. Fed. R. Evid. 201(b); Wietschner v. Monterey
 10   Pasta Co., 294 F.Supp.2d 1102, 1108 (N.D. Cal. 2003); MGIC Indem. Corp. v.
 11   Weisman, 803 F.2d 500, 504 (9th Cir. 1986) (court can take judicial notice of such
 12   matters when considering a motion to dismiss).
 13         When considering a motion to dismiss brought under Rule 12(b)(6), a Court
 14   may consider undisputed matters of public record through a request for judicial
 15   notice, including documents that are referenced in a complaint and
 16   made part of its claims:
 17        Although generally the scope of review on a motion to dismiss for failure
 18        to state a claim is limited to the Complaint, a court may consider
 19        evidence on which the complaint necessarily relies if: (1) the complaint
 20        refers to the document; (2) the document is central to the plaintiff’s
 21        claim; and (3) no party questions the authenticity of the copy attached to
 22        the 12(b)(6) motion. [citation omitted] The Court may treat such a
 23        document as part of the complaint, and thus may assume that its contents
 24        are true for purposes of a motion to dismiss under Rule 12(b)(6). [citation
 25        omitted].
 26   (Daniels-Hall v. Natl’s Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010) (internal
 27   quotation marks omitted).)
 28   //
                                                2
Case 2:20-cv-02779-CBM-GJS Document 12 Filed 05/20/20 Page 3 of 5 Page ID #:88



  1           Defendants seek judicial notice of the following documents that are attached
  2   hereto:
  3           Exhibit 1: HPM 81.2, Ch 2 – Storage Impound and Release Procedures and
  4   Ch. 4 – Post Storage Hearings
  5           Exhibit 2: The CHP 180 form issued to plaintiff by the CHP on October 24
  6   2019.
  7           Exhibit 3: The Post Storage Hearing Report (CHP 422B form) dated October
  8   30, 2019, memorializing the administrative hearing conducted on that date with
  9   respect to plaintiff’s request for release of her vehicle from impound.
 10           Defendants request judicial notice of the CHP impound policy in place at the
 11   time of the impound of plaintiff’s vehicle. Courts may take judicial notice of an
 12   agency’s actions. See Trout Point Lodge, Ltd. v. Handshoe, 729 F.3d 481, 490, fn.
 13   1 (5th Cir. 2013).
 14           Defendants also request judicial notice of the official public records of the
 15   CHP regarding documents relating to the administrative vehicle impound hearing
 16   conducted with respect to the impoundment of plaintiff’s vehicle on October 24,
 17   2019, because those documents form the official public record of the administrative
 18   hearing process challenged in the complaint. Courts may take judicial notice of
 19   administrative records. See Casas-Castrillon v. Dep’t of Homeland Security, 535
 20   F.3d 942, 952 (9th Cir. 2008).
 21           Judicial notice of these documents is also appropriate in light of the facts that
 22   (1) the complaint references the CHP impound policy and the CHP administrative
 23   hearing; (2) the documents are central to plaintiff’s claims; and (3) it is unlikely that
 24   plaintiff will dispute the authenticity or accuracy of the documents. See Daniels-
 25   Hall, 629 F.3d at 998.
 26           WHEREFORE, defendants request judicial notice of these documents, and
 27   certain information contained therein, for consideration in connection with their
 28   Motion to Dismiss Plaintiff’s Complaint.
                                                 3
Case 2:20-cv-02779-CBM-GJS Document 12 Filed 05/20/20 Page 4 of 5 Page ID #:89



  1   Dated: May 18, 2020                      Respectfully submitted,
  2                                            XAVIER BECERRA
                                               Attorney General of California
  3                                            MARK T. CUMBA
                                               Supervising Deputy Attorney General
  4
  5
                                               s/ Donna M. Dean
  6
                                               DONNA M. DEAN
  7                                            Deputy Attorney General
                                               Attorneys for Defendants
  8                                            Warren A. Stanley, Charles Sampson,
                                               A. Braaksma, S. Pool, and E. Bailey
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                           4
Case 2:20-cv-02779-CBM-GJS Document 12 Filed 05/20/20 Page 5 of 5 Page ID #:90



  1                          DECLARATION OF DONNA M. DEAN
  2        I, Donna M. Dean, declare as follows:
  3        1.     I am a duly appointed Deputy Attorney General and am assigned to
  4   represent defendants in the above-captioned action. The facts set forth herein are
  5   within my personal knowledge, except where otherwise indicated, and if called to
  6   testify herein I could and would competently testify thereto.
  7          2.       I am informed and believe that the documents attached hereto as
  8   Exhibits 1 through 3 are true and correct copies of the documents maintained by the
  9   California Highway Patrol (CHP) in its ordinary course of business, and pursuant to
 10   practices designed to ensure their accuracy and retention. Copies of these
 11   documents were provided to me by the custodian of records for the CHP.
 12          3.       I am further informed and believe that the documents attached hereto
 13   as Exhibit 1 are true and correct copies of CHP’s policies related to the
 14   impoundment of vehicles that was in place on October 24, 2019, when plaintiff’s
 15   vehicle was impounded.
 16          I declare under penalty of perjury under the laws of the United States of
 17   America that the foregoing is true and correct.
 18          Executed on May 18, 2020, at Torrance, California.
 19
                                                     /s/ Donna M. Dean
 20                                                    Donna M. Dean
 21
      LA2020300218
 22   63278272.docx

 23
 24
 25
 26
 27
 28
                                                 5
